Case 2:10-cr-20705-RHC-MKM ECF No. 92, PageID.362 Filed 03/01/11 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                      Case No. 10-20705

ALI ALAOUIE,

           Defendant.
_______________________________/

                   ORDER DENYING DEFENDANT ALI ALAOUIE’S
                          “MOTION FOR DISCLOSURE”

       Before the court is a “Motion for Disclosure” filed by Defendant Ali Alaouie.

Defendant asks the court to enter an order compelling the Government to disclose any

information that the Government intends to introduce at trial under Federal Rule of

Evidence 404(b) or 609. The motion will be denied.

       First, Federal Rule of Evidence 404(b) is self-regulating by the Government itself.

Rule 404(b) governs the admission of other acts evidence, and requires that the

government provide reasonable notice (normally in advance of trial) of “the general

nature of any such evidence,” predicated upon a “request by the accused” for such

information. No necessity for a motion or other involvement by the court at this stage is

indicated either by the Rule or in the motion.

       Second, Federal Rule of Evidence 609 governs the use of a previous conviction

of a crime for impeachment purposes at trial. There is no duty of disclosure imposed

upon the Government under this rule, unless the Government intends to admit evidence

of a conviction which is more than ten years old. Fed. R. Evid. 609(b). Even then,
Case 2:10-cr-20705-RHC-MKM ECF No. 92, PageID.363 Filed 03/01/11 Page 2 of 2




however, the rule is self-regulated by the admitting party, with the remedy of

inadmissibility for any violation of the rule.

           There appears to be no basis for court involvement at this stage of the litigation

and, accordingly,

           IT IS ORDERED that Defendant Ali Alaouie’s “Motion for Disclosure” [Dkt. # 71]

is DENIED.


                                                                    S/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE
Dated: March 1, 2011

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 1, 2011, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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